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 13

 14                           IN THE UNITED STATES DISTRICT COURT

 15                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

 16

 17   SKOT HECKMAN, Luis Ponce, Jeanene                Case No.: 22-cv-00047-GW-GJS
      Popp, and Jacob Roberts, on behalf of
 18   themselves and all those similarly situated,     The Honorable George H. Wu

 19                          Plaintiffs,
                                                       NONPARTY NEW ERA ADR, INC.’S
 20          vs.                                       NOTICE OF MOTION AND MOTION TO
                                                       QUASH PORTIONS OF PLAINTIFFS’
 21   LIVE NATION ENTERTAINMENT, INC.                  SUBPOENAS
      and TICKETMASTER LLC,
 22                                                    Hearing Date: November 7, 2022
                             Defendants.               Hearing Time: 8:30 a.m.
 23                                                    Courtroom:    9D, 9th Floor

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                                                       -1-                            Case No.: 22-cv-00047-GW-GJS

        NONPARTY NEW ERA ADR, INC.'S NOTICE OF MOTION AND MOTION TO QUASH PORTIONS OF PLAINTIFFS' SUBPOENAS
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  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

  2          PLEASE TAKE NOTICE that on November 7, 2022 at 8:30 a.m., or as soon thereafter as

  3   the matter may be heard before the Honorable George H. Wu, United States District Judge, in

  4   Courtroom 9D of the above-captioned court, located at 350 West 1st Street, Los Angeles,

  5   California 90012, Third Party Defendant New Era ADR, Inc. (“New Era”) will and hereby does

  6   move this Court, pursuant to Federal Rule of Civil Procedure 45(d)(3)(A)(iv) and (B)(i), for an

  7   order quashing Requests for Production No. 6, 7, 8, 10, and 13 of the Subpoena Duces Tecum

  8   (“Document Subpoena”), and Topics No. 6, 7, 8, and 10 of the Subpoena to Testify at a

  9   Deposition (“Deposition Subpoena”) issued to New Era by Plaintiffs Skot Heckman, Luis Ponce,

 10   Jeanene Popp, and Jacob Roberts (collectively “Plaintiffs”).

 11          This motion is based on: (1) this Notice of Motion and Motion; (2) the Memorandum of

 12   Points and Authorities; (3) all other papers submitted in support of the Motion; (4) the records on

 13   file in this case; (5) the arguments of counsel; and (6) any other matter that the Court may

 14   properly consider, or that may be presented to the Court at the hearing.

 15          This motion is made following the conference of counsel pursuant to Local Civil Rule 7-3,

 16   which took place on July 20, 2022, August 9, 2022, and August 31, 2022.

 17
      Dated: September 26, 2022                      Respectfully Submitted,
 18                                                  RILEY SAFER HOLMES & CANCILA LLP
 19

 20                                                  By: / S / Joshua A. Roquemore
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                                                       -2-                           Case No.: 22-cv-00047-GW-GJS

        NONPARTY NEW ERA ADR, INC.'S NOTICE OF MOTION AND MOTION TO QUASH PORTIONS OF PLAINTIFFS' SUBPOENAS
